

People v Arel A. (2023 NY Slip Op 00274)





People v Arel A.


2023 NY Slip Op 00274


Decided on January 24, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 24, 2023

Before: Kern, J.P., Oing, Gesmer, Scarpulla, Rodriguez, JJ. 


Ind. No. 3577/14,10/16 Appeal No. 17142-17142A Case No. 2018-04272 

[*1]The People of the State of New York, Respondent,
vArel A., Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Robin Richardson of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (T. Charles Won of counsel), for respondent.



Judgments, Supreme Court, Bronx County (William I. Mogulescu, J.), rendered June 26, 2018, convicting defendant, upon his pleas of guilty, of robbery in the first and second degrees, adjudicating him a youthful offender, and sentencing him to a conditional discharge for a period of three years, unanimously affirmed.
Defendant made a valid waiver of his right to appeal on June 14, 2017 (see People v Thomas, 346 NY3d 545, 559 [2019], cert denied 589 US , 140 S Ct 2634 [2020]; People v Lopez, 6 NY3d 248, 256 [2006]), which forecloses review of his argument that the mandatory surcharges and fees imposed at sentencing should be vacated pursuant to CPL 420.35(2-a). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 24, 2023








